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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA    :
                            :                        CASE NO. 1:21-cr-00552 (DLF)
           v.               :
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
Defendant.                  :


                      GOVERNMENT’S NOTICE OF AUTHORITY
                    REGARDING FEDERAL RULE OF EVIDENCE 615

       The United States of America respectfully files this Notice of Authority pursuant to the

Court’s request in open Court on May 16, 2023 regarding Rule 615 sequestration.

                                  RELEVANT AUTHORITY

       “Courts have broad discretion to achieve [the goals of sequestration] and ‘may make

whatever provisions [they deem] necessary to manage trials in the interests of justice ... including

the sequestration of witnesses before, during, and after their testimony.’ In addition, Rule 611 of

the Federal Rules of Evidence authorizes the trial court to ‘exercise reasonable control over the

mode and order of examining witnesses ... so as to ... make those procedures effective for

determining the truth.’ ‘Several cases suggest that courts still have discretion to exclude a Rule

615(b) witness’ pursuant to the Court’s general powers to manage the conduct of trial or Rule.”

See, e.g., Bradshaw v. Perdue, 319 F. Supp. 3d 286, 288–89 (D.D.C. 2018) (citations omitted)

(finding limited sequestration appropriate because “[p]ermitting [the witness] to remain in the

courtroom during [the opposing party’s key witness] testimony would risk jeopardizing the truth-

seeking function of the proceeding by providing the opportunity for defendant’s critical fact

witness to – consciously or subconsciously – shape his testimony to counter what he has heard



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from plaintiff’s critical fact witness in court rather than simply recount events from fifteen years

ago as he remembers them”).

       “The purpose of the sequestration rule is to prevent the shaping of testimony by one witness

to match that of another, and to discourage fabrication and collusion.” Id. (citing Minebea Co. v.

Papsti, 374 F. Supp. 2d 231, 236–37 (D.D.C. 2005) (contrasting the situation where a member of

the defense team acting as a witness sits at counsel table versus in the gallery and stating as follows:

“The primary reason for prohibiting Mr. Schnayer from acting as trial counsel and appearing before

the jury as both one of Papst’s two primary fact witnesses—whose name undoubtedly will be

invoked by witnesses for both sides throughout the trial—and as trial counsel was to avoid juror

confusion. The question is whether Mr. Schnayer would, as Minebea argues, cause juror confusion

if he sat in the last row of the gallery throughout the trial and never consulted with or even talked

to other Papst lawyers or Mr. Papst while in the courtroom or the corridor outside simply because

the jury would later see him on the witness stand. The Court thinks not.”).

       “Because a court may only decline to grant a party’s request to sequester particular

witnesses under one of the Rule 615 exemptions, the rule carries a strong presumption in favor of

sequestration. The party opposing sequestration therefore has the burden of demonstrating why

the pertinent Rule 615 exception applies, and ‘why the policy of the Rule in favor of automatic

sequestration is inapplicable in that situation[.].’” See, e.g., United States v. Jackson, 60 F.3d 128,

135 (2d Cir. 1995) (citations omitted).

       “In making a Rule 615 ruling, a district court must exercise discretion, and among the

factors that might usefully inform the exercise of such discretion are: 1) how critical the testimony

in question is, that is, whether it will involve controverted and material facts; 2) whether the

information is ordinarily subject to tailoring . . ., such that cross-examination or other evidence



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. . ., could bring to light any deficiencies; 3) to what extent the testimony of the witness in question

is likely to encompass the same issues as that of other witnesses, . . . 4) the order in which the

witnesses will testify, see id. at 1286; 5) any potential for bias that might motivate the witness to

tailor his testimony, . . . and 6) if the court is considering exempting the witness from sequestration

under Rule 615(3), whether the witness’s presence is “essential” rather than simply desirable.” See

Jackson, 60 F.3d at 135 (collecting cases, citations omitted). 1

                          SEQUESTRATION AS TO MS. LAMBERT

       If Ms. Lambert testifies as a summary witness (in addition to the many other proposed

summary witnesses on the Defendant’s witness list), the rule of sequestration—that the Defendant

invoked at the beginning of jury selection on May 15, 2023—should apply to Ms. Lambert. First,

there is a “strong presumption in favor of sequestration.” See, e.g., Jackson, 60 F.3d at 135

(citations omitted).    Second, “[t]he party opposing sequestration therefore has the burden of

demonstrating why the pertinent Rule 615 exception applies, and ‘why the policy of the Rule in

favor of automatic sequestration is inapplicable in that situation.’” See id. Here, the Defendant

has made no such showing. See, e.g., United States v. Jackson, 60 F.3d 128, 135 (2d Cir. 1995)

(citations omitted). In fact, rather than attempt to meet its burden, the Defendant instead filed a

retaliatory and baseless motion seeking to preclude the Government from having its case agent

testify in its case-in-chief, which this Court properly denied without argument. See ECF No. 118;

FRE 615(b) “an officer or employee of a party that is not a natural person, after being designated



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  Differently, “[i]t is undisputed that the government is entitled to one representative at counsel
table under Rule 615(b). In re United States, 584 F.2d 666, 667 (5th Cir.1978). District courts have
discretion whether to permit more than one government agent at counsel table during trial. United
States v. Ratfield, 342 F. App'x 510, 512 (11th Cir.2002) (per curiam) (abuse of discretion
standard).” United States v. McGregor, No. 2:10CR186-MHT, 2012 WL 235519, at *1 (M.D.
Ala. Jan. 25, 2012) (permitting more than one agent at “counsel table” and citing case law from
the Third, Fifth, Sixth, and Eleventh Circuits).
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as the party’s representative by its attorney”.

       Moreover, in applying the factors listed above, it becomes clear that Ms. Lambert should

be sequestered for many other reasons beyond the Defendant failing to carry his burden. Factors

one and three, above, weigh in favor of sequestration because Ms. Lambert’s testimony is unlikely

to be critical to Defendant’s case and is likely to be repetitive, given the Defendant has also

suggested it intends to call at least two other summary witnesses, Mr. Hill (who has been excluded

by this Court as an expert), and Mr. Moseley. The final factor above also weighs in favor of

sequestration, given the Defendant has not one, but two capable attorneys representing him at trial,

who should be well acquainted with the filings and evidence in this case. Therefore, she is unlikely

to be “essential.”

                                          CONCLUSION

       For these reasons, the Government respectfully requests Ms. Lambert be sequestered, if the

Defendant intends to call her as a summary witness.

                                                  Respectfully submitted,

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